                                   UNITED STATES BANKRUPTCY COURT
                                     MIDDLE DISTRICT OF ALABAMA




In re                                                                                  Case No. 23−30502
                                                                                       Chapter 13
Vickie S. Scott ,
        Debtor.



                                                       NOTICE

        Notice of Submission Error requiring refiling. Please refile as a Objection to Notice of Postpetition
        Fees and set for hearing. Please refile a corrected document within 7 days or your pleading may be
        dismissed (RE: related document(s)23 Rule 9007−1 Motion/Notice/Objection). Corrected filing due
        by 11/9/2023. (JI)


Dated November 2, 2023




                                                                Juan−Carlos Guerrero
                                                                Clerk of Court




        Case 23-30502          Doc 26       Filed 11/04/23 Entered 11/04/23 23:33:05                            Desc Imaged
                                           Certificate of Notice Page 1 of 3
                                                              United States Bankruptcy Court
                                                               Middle District of Alabama
In re:                                                                                                                 Case No. 23-30502-CLH
Vickie S. Scott                                                                                                        Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 1127-2                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Nov 02, 2023                                               Form ID: enotice                                                           Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Nov 04, 2023:
Recip ID                 Recipient Name and Address
db                     + Vickie S. Scott, 2959 Coosa County Rd. 93, Kellyton, AL 35089-1825

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Nov 04, 2023                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on November 2, 2023 at the address(es) listed
below:
Name                               Email Address
Bankruptcy Administrator
                                   ba@almb.uscourts.gov danielle_greco@almba.uscourts.gov;britt_griggs@almba.uscourts.gov

Charles G. Reynolds, Jr
                                   on behalf of Debtor Vickie S. Scott reynolds610@charter.net chuck@creynoldslaw.net

Douglas Alan Baymiller
                                   on behalf of Creditor U.S. Bank Trust National Association as Trustee of BKPL-EG Holding Trust dbaymiller@rlselaw.com,
                                   lcaplan@rlselaw.com;akhosla@rlselaw.com;nbrown@rlselaw.com;ruluecf@gmail.com;BKRL@ecf.courtdrive.com

Hugh Andrew Smith
                                   on behalf of Creditor U.S. Bank Trust National Association as Trustee of BKPL-EG Holding Trust hsmith@mtglaw.com,
                                   ecfnotifications@mtglaw.com

Sabrina L. McKinney
                                   trustees_office@ch13mdal.com




           Case 23-30502                Doc 26          Filed 11/04/23 Entered 11/04/23 23:33:05                                     Desc Imaged
                                                       Certificate of Notice Page 2 of 3
District/off: 1127-2                        User: admin                                Page 2 of 2
Date Rcvd: Nov 02, 2023                     Form ID: enotice                          Total Noticed: 1
TOTAL: 5




           Case 23-30502   Doc 26    Filed 11/04/23 Entered 11/04/23 23:33:05   Desc Imaged
                                    Certificate of Notice Page 3 of 3
